Case 1:16-cr-00284-DKC Document 141 Filed 06/10/22 rage PH AByY Nee

Memorandum of Law in Support of Motion to Vacate, Set Aside or Correct Sentence
Under 28 U.S.C. 2255

Movant, Troy Allen Lucas, also referred to herein as Petitioner, offers the following
Memorandum of Law in Support of Motion to Vacate, Set Aside or Correct Sentence under 28 U.S.C.
2255 and provides as follows:

I. STATEMENT OF CASE

In 2008, Baltimore City Police wrongfully pinned the murder of Rob Long on
Demetrius Smith. And a local jury convicted him based on the testimony of two witnesses. He
served four years of a life sentence before federal investigators uncovered evidence that led to
his release. That federal investigation revealed that Long’s demise resulted from a remarkable
scheme to stop Long’s cooperation in an investigation of Jose Morales for theft. Just days after
learning from his lawyer that Long was cooperating in the theft investigation, Morales hired
Troy Lucas to kill Long.

Federal authorities convicted Morales of murder in 2013, and with Morales’ cooperation,
federal efforts turned to Troy Allen Lucas. Lucas was then convicted by a federal jury for his
involvement in the murder-for-hire plot. During his trial, Lucas sought to introduce the transcript
of Bartlett’s testimony from Smith’s trial. In the trial that led to Smith’s wrongful conviction,
Bartlett had testified that he saw Smith shoot Long. The district court refused to admit Bartlett’s
testimony under the residual exception to the rule against hearsay, Rule 804. Also, the outcome

on the predicate offense charged in Count 2—the substantive crime of using interstate commerce
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facilities in the commission of murder-for-hire—is dictated by the same analysis. As a result, it
was held that either of Lucas’ § 1958(a) convictions properly qualified as predicate crimes of
violence to sustain Lucas’ § 924(c) conviction. Petitioner Lucas was convicted of Conspiring to
Commit Murder-for-Hire Resulting in Death, using a Firearm During a Crime of Violence
Resulting in Death. Lucas challenges this ruling.

The movant, Troy Lucas, also referred to a Petitioner, filed a notice of appeal, and an
appeal and was Argued on May 18, 2020, and Decided on December 4, 2020. Now Petitioner
Lucas files a timely motion to vacate the judgment of the court and seek a new trial under 28
US.C. 2255.

Il. RELEVANT FACTUAL BACKGROUND

On a March 2008 morning, Rob Long was shot twice in the head near Traci Atkins Park
in Baltimore, Maryland. He died from gunshots that came from no “more than two feet away.”
Although Long was seen alone with Lucas fifteen minutes before the murder, the authorities
charged Smith for Long’s murder. In 2010, a jury in Baltimore City convicted Smith based
largely on the testimony of two alleged eyewitnesses: Michelle Vicker and Mark Bartlett.
Bartlett, now deceased, testified that he saw Smith shoot Long while standing at the corner
across from the park. Bartlett claimed that around 7:30 am he saw Smith “reach[] in his jacket
and pull[{] out a handgun and aim[] it at Mr. Long’s head.” While video evidence from a
pole camera at the scene contradicted Bartlett’s testimony that he saw the murder, Smith’s
counsel failed to address this evidence on Bartlett’s cross-examination. Instead, Smith’s counsel
agreed to a stipulation that the video’s stated time was inaccurate. Smith was convicted and
sentenced to life in prison.

Five months after Long’s murder, law enforcement caught Morales in Texas with
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Six kilograms of cocaine, which led a federal jury to convict him of drug trafficking. Once
incarcerated on those charges, Morales provided information to prison officials about Long’s
murder. This information led to a federal investigation that revealed that Morales and Lucas—
not Smith—had murdered Long. Long, it turns out, had agreed to cooperate with law
enforcement just before he was murdered. He cooperated against his longtime employer,
Morales, ina state theft case. Using the information Long provided, law enforcement
obtained a search warrant for Morales’ home, where they located stolen goods. Morales then
contacted his attorney, Stanley Needleman, “irritated” and “very upset” about the search warrant.

In that discussion, Morales speculated that Long must have been the informant.
Morales demanded that Needleman find out if Long was cooperating with law enforcement.
Based on the Assistant State’s Attorney’s refusal to provide any information about the informant,
Needleman began to suspect that Long was the informant. He confirmed that suspicion through
Long’s attorney, Alex Leikus, who gave away his client. Needleman relayed this information to
Morales, who became “enraged.” Long was murdered two days later.
Based on the federal investigation, Morales was convicted and sentenced to life in
prison for Long’s murder. See United States v. Morales, 585 F. App’x 176 (4th Cir. 2014). And
state prosecutors requested that Smith’s conviction —which was still
on appeal— be vacated. Smith’s conviction was finally expunged in March 2016, six years after
he had been wrongfully convicted. That left Lucas, whom Morales had hired to kill Long.

In 2018, a federal jury convicted Lucas based on Morales’ testimony and corroboration
from witnesses, a street-security camera, phone records, and statements Lucas had made to law
enforcement. Lucas was convicted on all three counts charged in the indictment: conspiring to

commit murder-for-hire resulting in death, using an interstate-commerce facility in the
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commission of murder-for-hire conspiracy resulting in death, and using a firearm during a
crime of violence resulting in death. The district court sentenced Lucas to life in prison.

Lucas appealed the exclusion of testimony from a deceased witness and the conclusion
that murder-for-hire is a crime of violence under the force clause of 18 U.S.C. § 924(c).

In fact, 18 U.S.C. §§ 922, 924, Firearms N.B.: For cases addressing the Armed Career
Criminal Act, see Sentencing Statutes in Part VIII. United States v. Simms, 914 F.3d 229 (4th
Cir. Jan. 24, 2019) (en banc) (Motz, J.) (E.D.N.C.) (holding that “residual clause” of 18 U.S.C. §
924(c)’s definition of “crime of violence” is void for vagueness, and therefore unconstitutional,
for same reasons that Supreme Court found a residual clause in 18 U.S.C. § 924(e)’s definition of
“violent felony” and in 18 U.S.C. § 16’s definition of “crime of violence” to be unconstitutional).
Herein are the stated facts from Petitioner Lucas in which he challenges the Government’s theory
that led to the death of Robert Long. Under these relevant facts, Petitioner Lucas offers the
following facts:

(A) Petitioner Troy Lucas was provided with ineffective assistance of counsel
under Constitutional standards when Attorney Harry Trainer and Attorney
Chris Davis did not call as a witness, Louis Vanever, who would have
testified that he worked for cooperating witness Jose Morales. Vanever
would have further testified that Morales provided Vanever with a cell
phone, which Vanever used to stay in contact with Morales to manage
Morales' business. At Petitioner's trial, the Government introduced cell
phone records to prove that there was contact between both Morales'
phone and Vanever's phone, especially around the time of the murder of
Robert Long. The Government Attorney wrongly attributed the ownership
of Vanever's phone to Petitioner. Had Attorneys Trainer and Davis called
Vanever to testify at the trial, Vanever would have verified that the cell
phone used by him, which is the cell phone in question, was given to him
by Morales for business purposes. Vanever's testimony also would have
established that the Government's theory, that the relevant phone calls
were placed by Vanever and not by Petitioner, proving the Government's
theory to be 100% wrong.
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(B) During the trial Petitioner Troy Lucas was provided with ineffective
assistance under Constitutional standards by Attorney Harry Trainer and
Chris Davis who did not move to introduce the prior State Trial testimony
of Mark Bartlett. The Federal Judge ruled that Bartlett's state testimony
could only be admissible under Rule 804 (b)(1) during a colloquy with
Defense Counsel and the Government Attorney.
Notwithstanding this judicial directive, neither Attorney Trainer nor Davis
filed a motion or made an oral application seeking to introduce Bartlett's
exculpatory testimony, which was sworn testimony provided at a State
Trial. Had Attorney Trainer or Davis moved to introduce Bartlett's State
Trial testimony, of his eyewitness account of his personal observations of
Robert Long's murder, perpetrated by Demetrius Smith, there is a strong
probability that the result of the proceedings would have been different,
thereby, resulting in the acquittal of Petitioner Lucas.

(a)In a case with facts similar to this, it was held that statements made by a witness who
died before trial would be admissible under Rule 804(d)(2)(A), (B), and (E). Regarding
the applicability of the Confrontation Clause, the court relied on the criteria outlined in
United States v. Scholle, 553 F.2d 1109 (8th Cir. 1977), cert. denied, 434 U.S. 940, 98
S. Ct. 432, 54 L.Ed.2d 300:

A highly relevant consideration is the degree of prejudice imposed upon the fact-finding
process by the declarant's non-availability. We should consider whether the out-of-court
statement bears traditional indicia of reliability, whether it was crucial to the
government's case, whether the jury had an opportunity to weigh the credibility of the
extrajudicial statement, and whether appropriate instructions were given by the trial
Judge. 553 F.2d at 1119 (Citations omitted).

(C) Petitioner Troy Lucas was provided with ineffective assistance of counsel.
under Constitutional standards, by Attorneys Harry Trainer and Chris
Davis, who failed to challenge the statements made by Petitioner, who was
not Mirandized before or during the custodial interrogation, which was
conducted by law-enforcement. Moreover, AUSA Wilkinson admitted that
law-enforcement did not issue Miranda Rights, before or after their
interrogational interview of Petitioner. Had Attorneys Trainer and Davis
filed a motion challenging the custodial interrogation of Petitioner, which
was void of Miranda warnings, the prejudicial and inculpatory statements
of Petitioner would have been suppressed. More importantly, said
statements would have been excluded from Petitioner's trial.

(D) Petitioner Troy Lucas was provided with ineffective assistance of counsel,
under Constitutional standards, by Attorneys Harry Trainer and Chris
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Davis, who did not inform Petitioner of a plea offer, which was extended
by the Government. Petitioner Troy Lucas learned of the plea offer after
the trial had concluded. Had counsel informed Petitioner of the plea offer
in a timely fashion Petitioner may have accepted the offer, or at least
would have engaged in further plea negotiations. Nevertheless, Attorneys
Trainer and Davis' failure to communicate the plea offer, to Petitioner,
constitutes ineffective assistance of counsel. The Government extended a
plea offer of forty (40) years and the promise that Petitioner would be
incarcerated at a facility close to Petitioner's family. This statement is
based on post-trial conversation that Petitioner had with Defense
Counsel.

(E) Petitioner Troy Lucas was provided with ineffective assistance of
counsel, under Constitutional standards, by Attorneys Harry Trainer and
Chris Davis, who did not move for a mistrial upon learning that members of
the victim's family were communicating with members of the Trial Jury,
during a break prior to the conclusion of the trial. The family members
claimed to be obtaining directions for traveling to and from the Courthouse.
However, this explanation is absurd because at the time of the family
member's interaction with the Jury the Trial had been underway for a
matter of days. The victim's family had no apparent problem finding the
Courthouse, as they were present every day for an of the trial proceedings
prior to the date in which they were discovered having interactions with the
Trial Jury. Attorneys Trainer and Davis should have insisted on a thorough
voire dire of the victim’s family members, as well as all of the members of
the Jury. Without a thorough inquiry, by the Court, there is no way to know
whether the victim's family had discussed, with the Jurors, matters that
affected the juror's ability to remain unbiased and impartial and to decide
the case solely on the evidence, or lack thereof, which was presented at the
Trial. As a result, Attorneys Trainer and Davis functioned below the
Constitutional standard of providing Petitioner with adequate
representation, at the Trial, therefore, failing to safeguard the integrity of
the truth-seeking process, by an unbiased and impartial Jury.

(F) Petitioner Troy Lucas was provided with ineffective assistance of
counsel, under Constitutional standards. when Attorneys Harry Trainer and
Chris Davis failed to preclude the testimony of Morales' Private
Investigator. The Private Investigator, accompanied by Morales’ two
Attorneys, visited Petitioner at the State Detention Facility. Petitioner was
represented by Attorney Donald Wright, on an unrelated state charge, at the
time in question. Morales: Attorneys and Private Investigator broke an
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ethical rule, not to interview a defendant that is represented by an attorney
without initially obtaining the permission of the defense attorney. In
addition, Morales' Defense Team and Investigator were an active arm of the
Prosecution Team and any information acquired during the interview
should have been suppressed, by the Court, for the blatant omission of
Miranda rights, in the absence of Petitioner's Attorney Donald Wright.
Since Morales' Attorneys and investigators conducted a custodial
interrogation of Petitioner, without his attorney present, with the intent to
use whatever inculpatory statement elicited from Petitioner against him at
trial. The witness should never have been allowed to regurgitate any
statements made by Petitioner at Petitioner's future Federal Trial.

The law is crystal clear on this matter of inadmissibility. A suspect must be informed of
his or her rights when he or she is subject to custodial interrogation. Miranda vy. Arizona,
384 U.S. 436, 477-78, 482: see also United States v. Hashime, 734 F.3d 278,282 (4th Cir.
20] 3). "The failure to give the prescribed warning and obtain a waiver of rights before
custodial questioning generally required exclusion of any statements obtained." See
United States v. Mashburn, 406 F.3d 303, 306 (4th Cir. 2005).

(G) Attorneys Trainer and Davis provided Petitioner with ineffective
assistance of counsel when they did not challenge the Government's

| intrusion into the attorney-client confidentiality, and to elicit statements

against the interest of his client in the absence of Miranda warnings, which

| were obtained in the absence of counsel. Attorney Harry Trainer and Chris
Davis should have moved to preclude the Private Investigator's trial
testimony, which recited inculpatory statements, made by Petitioner, which
were obtained during the custodial interrogation. The "in custody"
requirement for Miranda protection was satisfied since Petitioner was in
custody, even if on an unrelated offense, and even more noteworthy is the
fact that Petitioner was represented by an attorney at the time of the
custodial interrogation. Finally, the Private Investigator was acting in a law
enforcement capacity and Morales' Attorney had every intention of (1) using
the elicited information at Morales' Trial and (2) using it for a plea deal to
extricate their client from a life or death sentence. In the end, the
Government used the interrogative statements at Petitioners Trial, by
calling Morales' Private Investigator as a witness to parrot what
Petitioner stated at the Detention Center.

(H) Petitioner Troy Lucas was provided with ineffective assistance of
counsel, under Constitutional standards, when Attorneys Harry Trainer
and Chris Davis failed to have an expert examine Robert Long's cell
phone. which could have contained inculpatory evidence against
Morales, as well as other individuals. In addition, the cell phone data
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could have supported Petitioners theory that Petitioner is innocent of the
murder of Robert Long and could have included data that pointed to the
actual murderer, as well as the murderer's motives. Finally, the cell phone
data could have provided a lead to other witnesses, who could

have supplied crucial information regarding the last moments of Long's
life, as well as information relevant to Long's murder. Attorneys Trainer
and Davis should have moved the Court for an Order, authorizing a
Defense expert's examination of Long's cell-phone data. Defense counsel's
failure to do so constitutes ineffective assistance of counsel.

(1) Petitioner Troy Lucas was provided with ineffective assistance of
counsel, by Attorneys Trainer and Davis. who did not challenge the
interstate-commerce element prior to, during or after the Trial? Attorneys
Trainer and Davis failed to move for an acquittal, after Trial, pursuant to
a Rule 29 Motion. In such a Motion, Attorneys Trainer and Davis could
have argued that there was no evidence sufficient to sustain the conviction,
of the murder-for-hire offense charged in the Indictment, as Jose Morales
testified that he and Petitioner did not communicate by phone. Without the
telephonic communications, the interstate-commerce element is lacking
evidentiary-wise and, therefore, there is no link to federalize the murder of
Robert Long. Attorneys Trainer and Davis’ failure to file a Rule 29
Motion based on the lack of evidence to support the offense and
conviction, amounts to ineffective assistance of counsel.

(J) Petitioner Troy Lucas was provided with ineffective assistance of
counsel, under Constitutional standards when Attorneys Harry Trainer
and Chris Davis did not call crucial law enforcement officers to testify at
the Trial. The Baltimore police officers were the first responders to the
radio run, of the shooting of Robert Long. These officers spoke to
witnesses, collected evidence at the crime scene and arrested Demetius
Smith, a dark-skinned black male, for the murder of Robert Long. In a
State Trial, Smith was convicted for the murder of Long, and served
approximately four years of a life sentence, before his conviction was
overturned, based on new evidence that suggested his innocence. The
impetus for Smith's release was the statement of Jose Morales, who told
federal authorities that he hired Petitioner and brother Lucas to murder
Robert Long. When Attorneys Trainer and Davis failed to call these
crucial witnesses, to testify at the trial, their representation of Petitioner
fell below the acceptable function. of competent counsel, violating
Petitioner's Sixth Amendment Right to effective assistance of counsel.
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(K) Petitioner Troy Lucas was provided with ineffective assistance of
counsel, under Constitutional standards. when his Attorneys Harry
Trainer and Chris Davis misled Petitioner by informing Petitioner that
their trial strategy was to retry the Demetrius Smith case, pointing to
Smith as the perpetrator of the Robert Long murder knowing full well they
had no intention of using said trial strategy Attorney Trainer bragged, to
Petitioner about how he (Mr. Trainer) had documentation. from the Smith
trial, sitting on four conference tables and that he could easily convince
the jury that there was reasonable doubt from which to conclude that
Petitioner Lucas was innocent of the heinous crime.

(L) Petitioner Troy Lucas was provided with ineffective assistance of
counsel under Constitutional standards. Counsel's failure to investigate
Petitioner's mental state and to present evidence.

Ill. ARGUMENT
1. Movant- Petitioner was denied the effective assistance of counsel.

As a defendant in a criminal prosecution, Mr. Lucas was entitled to “the guiding hand of counsel
at every stage of the proceeding.....” Powell v. Alabama, 287 U.S. 45, 68-69, 53 S. Ct. 55, 64 (19132).
The Sixth Amendment provides that [i]n all criminal prosecutions, the accused shall enjoy the right... to
have the Assistance of Counsel for his defense.” U.S. Const., amen. VI. “Of all the rights that an accused
person has, the right to be represented by counsel is by far the most pervasive, for it affects his ability to
assert any other rights he may have.” United States v. Chronic, 466 U.S.648, 654, 104 S. Ct. 2039,
2044(1984).

Embodying “ a realistic recognition of the obvious truth that the average defendant does not have
the professional legal skill to protect himself”; Johnson v. Zerbst, 304 U.S. 458, 462 - 463, 58 S. Ct. 1019,
1022 (1938); the right to counsel safeguards the other rights deemed essential for the fair prosecution of a
criminal proceeding,” Maine v. Moulton, 474 U.S. 159, 169, 106 S. Ct. 477, 483(9185). According, a
“deprivation of a person’s liberty may not be imposed unless the defendant was accorded the ‘guiding
hand of counsel’ in the prosecution for the crime charged.” Alabama v. Shelton, 535 U.S. 654, 658, 122 S.

Ct. 1764, 1767(2002). That guiding hand must, of necessity, be an effective one, and where, as here, such
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effective assistance is denied, the criminal defendant has been denied the fundamental rights guaranteed
under the Constitution and the abridgment of which invalidates the imposition of a sentence which would
effect a deprivation of the defendant’s liberty.

The Sixth Amendment guarantees all criminal defendants the right to effective assistance of
counsel, Strickland v. Washington, 466 U.S. 668, 669, 104 S. Ct. 2052, 2055(9184). To establish a claim
of ineffective assistance of counsel, the defendant must satisfy the two-prong Strickland test. First, a
defendant must show that his counsel’s performance was below the level expected of a reasonably
competent attorney. Id. at 687.

Second, the defendant must establish prejudice, which is accomplished by showing “a reasonable
probability that, but for the counsel’s unprofessional errors, the result of the proceeding would have been
different.” Id. at 694.

Here the movant’s motion is premised not only on ineffective assistance during the court
proceeding themselves, but also from the genesis of the charges with the respect to the decision made
early in the process which effectively determined the outcome. The Supreme Court has “found that the
right attaches at earlier, ‘critical stages in the criminal justice process where the results might well settle

the accused’s fate...” Maine v. Moulton, 474 U.S. 159, 170 106 S. Ct. 477, 484 (9185) (quoting United
States v. Wade, 388 U.S. 218, 224, 87S. Ct. 1926, 1930(1967)).

There can be no question that where the defendant is called upon to decide whether to
accept a plea arrangement and to forgo other rights, even before a charge is formally made, such
a situation constitutes a “critical stage” and the accused is entitled to the effective assistance of
an attorney because the accused “‘requires aid in coping’ with the legal dilemma presented.”
Patterson v. Illinois, 487 U.S. 285, 298, 108 S. Ct. 2389, 23897 (1988) (quoting) United States
v. Ash, 413 U.S. 300, 313, 93 S. Ct. 2568, 2575(1973)).

When alleging a claim of ineffective assistance of counsel, a petitioner must show that

counsel’s performance was constitutionally deficient to the extent it fell below an objective

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standard of reasonableness, resulting in prejudice. Strickland v. Washington, 466 U.S. at 687-91,
104 S. Ct. at 2064-2066. While in making this determination, there is a presumption that
counsel’s conduct was within the wide range of reasonable professional assistance, id. At 689;
see Fields v. Attorney Gen’! of Md., 956F.2d 1290, 1297-99(4th Cir. 1992); where the
representation is deficient and prejudices the defendant, relief must be granted to the
movant-petitioner.

To demonstrate prejudice, Movant-Petitioner must show a probability that the alleged
errors worked to her or his “actual and substantial disadvantage, infecting his trial with error of
constitutional dimensions.” Murray v. Carrier, 477 U.S. 478, 494, 106 S. Ct. 2639, 2648(1986).
Under these circumstances, Petitioner “bears the burden of proving Strickland prejudice.”
Fields, 956 F.2dat1297(citing Hutchins, 724 F. 2d at 1430).

In Rompilla v. Beard, 545 U.S. 374, 125 S. Ct 2456(2005), the Supreme Court held that a
defense attorney did not satisfy the Sixth Amendment requirement of “effective assistance of
counsel” when the defense attorney did not examine the prosecutor’s file or otherwise make
reasonable efforts to uncover the facts related to the aggravating circumstances that would be
offered by the prosecutor. See also Florida v. Nixon, 543 U.S. 175, 125 S. Ct. 551 (2004)(holding
that a defense attorney in a capital case did not enter “effective assistance of counsel” in
violation of the Sixth Amendment by entering a guilty plea without the express consent of the
defendant): Wiggins v. Smith, 539 U.S. 510, 123 S. Ct. 2527(2003)( holding that a defense
attorney’s failure to investigate possible mitigating circumstances constituted “ineffective
assistance of counsel” in violation of the Sixth Amendment.)

In Rompilla, the Court reasoned that even where the “defendant and his family members

have suggested that no mitigating evidence is available, his lawyer is bound to make reasonable

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efforts to obtain and review material that counsel knows the prosecution will probably rely on as
evidence.” Even “a client’s expressed intention to plead guilty does not relieve counsel of their
duty to investigate possible defenses and to advise the defendant so that he can make an
informed decision.” Savino v. Murray, 82 F. 3d 593, 599(4th Cir. 1996).

Then Mr. Lucas has set forth facts that entitle him to relief. When a habeas petitioner
challenges a sentence on the grounds of the denial of the Sixth Amendment right to effective
assistance of counsel, the two criteria must be satisfied. He maintains that he has satisfied them
here.

2. Government’s breach of disclosure obligation under Due Process

Due process requires that in a criminal prosecution, the government must disclose to the
defendant evidence favorable to him if the suppression of that evidence would deny him a fair
trial. “Society wins not only when the guilty are convicted but when criminal trials are fair; our
system of the administration of justice suffers when any accused is treated unfairly.” Brady v.
Maryland, 373 U.S. 83, 87 (1963).

The Court in Brady held that the prosecution’s suppression of evidence that is favorable
to the accused “violates due process where the evidence is material either to guilt or to
punishment, irrespective of the good faith or bad faith of the prosecution.” Id. And evidence
favorable to the defendant includes not only exculpatory evidence but also evidence that the
defendant can use to impeach government witnesses. See Giglio v. United States, 405 U.S. 150,
153-54 (1972); United States v. Bagley, 473 U.S. 667, 676 (1985).

Just as the Brady rule does not depend on the good faith, vel non, of the prosecutor, it

also is not limited to evidence known only to the prosecutor. Thus, the obligation applies to

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“evidence known only to police investigators and not to the prosecutor.” Kyles v. Whitley, 514
US. 419, 438 (1995).

Nonetheless, “the Constitution is not violated every time the government fails or chooses
not to disclose evidence that might prove helpful to the defense.” Id. at 436-37. Rather, the
suppressed evidence must be materially favorable to the accused — that is, the nondisclosure
must be “‘so serious that there is a reasonable probability that the suppressed evidence would
have produced a different verdict.” Strickler v. Greene, 527 U.S. 263, 281 (1999). Stated
otherwise, the question is whether “the favorable evidence,” “considered collectively,” “could
reasonably be taken to put the whole case in such a different light as to undermine confidence in
the verdict.” Kyles, 514 U.S. at 435-36 (emphasis added).

In Brady v. Maryland, 373 U.S. 83, 83 S. Ct.1194(1963), the Supreme Court held “ the
suppression by the prosecution of evidence favorable to an accused upon request violates due
process where the evidence favorable to the accused upon request violates due process where
the evidence is material either guilt or punishment, irrespective of the good faith or bad faith of
the prosecutor.” 373 U.S. at 87.

In Giglio v. United States, 405 U.S. 150 (1972), the Supreme Court extended this
principle to include evidence that impeaches a witness’s credibility. 405 U.S. at 154.

Such a violation exists even where there is purportedly a waiver of discovery. There are
three elements of a Brady/Giglio violation:

(1) The evidence at issue must be favorable to the accused, either because it is exculpatory,
or because it is impeaching; (2) that evidence must have been suppressed by the State,

either willfully or inadvertently; and (3) prejudice must have ensued.

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United States v. Williams, 547 F. 3d 1187, 1202(9th Cir. 2008) (quoting Stickler v.

Greene, 527 U.S. 263, 281-82(1999) (internal quotation marks omitted)).

Evidence is prejudicial or material “if there is a reasonable probability that, had the
evidence been disclosed to the defense, the result of the proceeding would have been different.”
United States v. Bagley, 473 U.S. 667, 682(1985). There is a “reasonable probability” of
prejudice when suppression of evidence ‘undermines confidence in the outcome of the trial.”
Kyles v. Whitley, 514 U.S. 419, 434(1995) (citing Bagley, 473 U.S. at 678). But a “reasonable
probability” may be found” even where the remaining evidence would have been sufficient to
convict the defendant.” Jackson v. Brown, 513 F. 3d 1057, 1071(9th Cir. 2008) (citing Strickler,
527 U.S. at 290).

Accordingly, this failure to disclose Brady's information undermines the entire justice
system. It warrants granting relief under Section 2255.

3. Deficient Performance During Initial Plea Negotiations

A defendant’s Sixth Amendment right to effective assistance of counsel extends to the
plea-bargaining process. Lafler v. Cooper, 566 U.S. 156, 162 (2012). To prevail on an ineffective
assistance claim, the defendant must show that counsel’s performance was constitutionally
deficient, and that the deficient performance prejudiced the defense. Strickland v. Washington,
466 U.S. 668, 687 (1984).

To show prejudice under Strickland where the ineffective assistance results in rejection
of a plea offer and the defendant is convicted in the ensuing trial, a defendant must show that but
for the ineffective advice of counsel, there is a reasonable probability that the plea offer would
have been presented to the court (i-e., that the defendant would have accepted the plea and the

prosecution would not have withdrawn it in light of intervening circumstances), that the court

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would have accepted its terms, and that the conviction or sentence, or both, under the offer’s
terms would have been less severe than under the judgment and sentence that in fact were
imposed. Lafler, 566 U.S. at 164.

Courts have held that counsel’s performance during plea bargaining stages can be
constitutionally deficient for various reasons, such as basing advice to the defendant on
incomplete research or recommending a defendant risk a great deal at trial in exchange for very
little. See, e.g., Hoffman v. Arave, 455 F. 3d 926(9th Cir. 2006), cert. granted, 76 U.S.L.W.
3238(U.S. Nov. 5, 2007).

Indeed, the Supreme Court long ago stressed that a defendant “is entitled to rely upon his
counsel... to offer his informed opinion as to what to plea should be entered, “Von Moltke v.
Gillies, 332 U.S. 708, 721(1948), and courts of appeal have regularly found counsel’s
performance deficient when counsel fails to sufficiently explain and advise a client about “the
substantial difference between the likely sentencing ranges upon conviction after trial and upon a
guilty plea.” Cullen v. United States, 194 F. 3d 401, 403-04 (2d Cir. 1999): see also United States
v. Blaylock, 20 F. 3d 1458, 1468 (9th Cir. 1994) ( indicating that “an attorney’s incompetent
advice regarding a plea bargain [can fall] below reasonable standards of professional conduct”);
Toro v. Fairman, 940 F. 2d 1065, 1067-68(7th Cir. 1991) (Finding that misguided advice during
plea stage amounts to deficient performance); Turner v. Tennessee, 585 F. 2d 1201, 1205-06(6th
Cir. 1988)(holding that bad plea advice amounted to ineffective assistance of counsel), vacated
on other grounds, 492 U.S. 902(1989).

The standard for determining whether a guilty plea is constitutionally valid is whether the
guilty plea represents a voluntary and intelligent choice among the alternative courses of action

open to the defendant. North Carolina v. Alford, 400 U.S. 25, 31, 91 S. Ct. 160(1970). In

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applying this standard, courts look to the totality of the circumstances surrounding the guilty
plea, Brady v. United States, 397 U.S. 742, 749, 90 S. Ct. 1463(1970),. In applying this
standard, courts look to the totality of the circumstances surrounding the guilty plea, Brady v.
United States, 397 U.S. 742, 749 9 S. Ct. 1463(1970) granting the defendant solemn
declaration of guilt a presumption of truthfulness. Henderson v. Morgan, 426 U.S. 637, 648, 96
S.Ct.

2253(1976) (plurality opinion).

The Constitution requires the circumstances to reflect that the defendant was informed of
all of the direct consequences of his plea. Brady, 397 U.S. at 755, 90 S. Ct. at 146. A plea may be
involuntary if the defendant does not understand the nature of the constitutional rights he is
waiving or unintelligent if the defendant does not understand the charges against him.
Henderson, 426 U.S. at 645 n. 13, 96 S. Ct. at 225 .13. Concerning counsel's performance, the
record illustrates that the movant was denied the opportunity to even explore a plea agreement.

Turner v. Tennessee, 858 F. 2d1201, 1205-06 (6th Cir. 1988) (holding that bad plea advice
violated defendant’s right to effective assistance of counsel). The Tenth Circuit has also very
recently indicated “that a failure by counsel to provide advice may form the basis of a claim of
ineffective assistance of counsel.” United States v. Klima, 2007 U.S. App. LEXIS 18503,
No.07-03073, at *7 (10th Cir. Aug. 1, 2007) (quoting United States v. Broce, 488 U.S. 563,
574(1989)).

An accused’s right to be represented by counsel is a fundamental component of our
criminal justice system. Lawyers in criminal cases “are necessities, not luxuries.” Gideon v.
Wainwright, 372 U.S. 335, 344 (1963). “Their presence is essential because they are the means

through which the other rights of the person on trial are secured.” Cronic, 466 U.S. at 653. “Of

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all the rights that an accused person has, the right to be represented by counsel is by far the most
pervasive for it affects his ability to assert any other rights he may have.” Id. at 654.
4. Miranda Rights Protection

Lucas presents the argument that his attorney’s failure to move to suppress his confession
under Edwards v. Arizona, 451 U.S. 477 (1981), which prohibits police interrogation after an
invocation of Miranda rights, constituted ineffective assistance of counsel.

In Edwards v. Arizona, the Supreme Court held that once a suspect invokes his right to
counsel under Miranda, he is “not subject to further interrogation” by the police, unless — in an
exception not relevant here — the suspect himself initiates renewed communication with the
police. 451 U.S. at 484-85. If the police do interrogate a suspect in custody after he asserts his
right to counsel, then any statements they elicit are per se inadmissible, even if the suspect is
again advised of his Miranda rights. Id. at 487.

To establish an Edwards violation, a petitioner must show both that he clearly and
“unambiguously” invoked his right to counsel, Davis v. United States, 512 U.S. 452, 459 (1994);
Edwards, 451 U.S. at 485 (police may not interrogate a suspect who has “clearly asserted” his
Miranda right to counsel), and also that the police subsequently “interrogated” him, Edwards,
451 U.S. at 484 (prohibiting “further police-initiated custodial interrogation” after invocation);
see Rhode Island v. Innis, 446 U.S. 291, 300-01 (1980) (“Miranda safeguards come into play”
when police engage in “interrogation” of a suspect in custody).

IV.. STANDARD OF REVIEW
This Court is asked to recognize that the Petitioner is pro se and has accorded his
pleadings liberal construction. See Erickson v. Pardus, 551 U.S. 89, 94 (2007). Under 28 U.S.C.

§ 2255, a prisoner in custody may seek to vacate, set aside, or correct his sentence on four

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grounds: (1) the sentence was imposed in violation of the Constitution or laws of the United
States, (2) the court was without jurisdiction to impose the sentence, (3) the sentence was more
than the maximum authorized by law, or (4) the sentence is otherwise subject to a collateral
attack. Hill v. United States, 368 U.S. 424, 426-27 (1962) (citing 28 U.S.C. § 2255).

The scope of a § 2255 collateral attack is far narrower than an appeal, and a “collateral
challenge may not do service for an appeal.’” Foster v. Chatman, 136 S. Ct. 1737, 1758 (2016)
(quoting United States v. Frady, 456 U.S. 152, 165 (1982)). Thus, any failure to raise a claim on
direct appeal constitutes a procedural default that bars the presentation of the claim in a § 2255
motion unless the petitioner can demonstrate cause and prejudice, or actual innocence. United
States v. Pettiford, 612 F.3d 270, 280 (4th Cir. 2010); see Dretke v. Haley, 541 U.S. 386, 393
(2004); Reed v. Farley, 512 U.S. 339 (1994); see also United States v. Mikalajunas, 186 F.3d 490,
492-93 (4th Cir. 1999).

Conversely, any “failure to raise an ineffective assistance-of-counsel claim on direct
appeal does not bar the claim from being brought in a later, appropriate proceeding under §

2255.” Massaro v. United States, 538 U.S. 500, 509 (2003).
V. DISCUSSION

United States District Judge Roger W. Titus sentenced Troy Allen Lucas a/k/a “Troy
Madron,” age 49, of Baltimore, Maryland to two life sentences and a consecutive ten-year
sentence in prison for the murder-for-hire of Robert Long. At the time of his death, Long was a
cooperating witness in several cases pending in 2007 and 2008 in the Circuit Court for Baltimore
City. The sentence was announced by the Acting United States Attorney for the District of
Maryland Stephen M. Schenning; Assistant Special Agent in Charge Don A. Hibbert of the Drug

Enforcement Administration, Baltimore District Office; Colonel Woodrow Jones, Chief of the

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Maryland Transportation Authority Police; and Colonel William M. Pallozzi, Superintendent of
the Maryland State Police.

According to evidence presented at the two-week trial, Lucas was a member of "Dead
Man Inc." (DMI), a criminal street and prison gang. Lucas symbolized his allegiance to DMI
while in prison in 2007 by having a large tattoo of a hangman’s noose around his neck and on his
chest.

Jose Morales solicited Lucas and his now-deceased brother to kill Morales’s employee, Robert
Long, to retaliate for Long’s cooperation with the police and to prevent Long from testifying
against Morales. Morales paid Lucas in cash and cocaine to kill Long. The federal case focused
on the use of cellular telephones with the intent to have Long murdered and the evidence showed
that Lucas and Morales used cell phones to contact one another regarding Long’s cooperation
and Long’s whereabouts. Minutes after the murder, Lucas called Morales to advise that the “job”
was done.

Long was shot twice in the head on March 24, 2008, in an open area behind Traci Atkins
Park in southwest Baltimore known as the “Lumber Yard.” The evidence presented at trial
showed that Long was shot with a .25 caliber handgun at close range and that Lucas used,
catried, and discharged the gun that caused Long’s death.

Jose Joaquin Morales, age 42, of Baltimore, Maryland, was convicted at trial by a federal jury
for using a cell phone to arrange the murder-for-hire of Robert Long and was sentenced to life in
prison on December 9, 2013. The prosecution of Morales resulted in the exoneration of
Demetrius Smith, who was serving life in state prison for the murder -- a crime he did not

commit.

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As grounds for Petitioner Lucas’s § 2255 motion, Lucas raises claims that he received
ineffective assistance of counsel. This case goes beyond this one claim, it entails actual
innocence and mistaken identity. Discovery, which is as central as police reports containing

statements of trial witnesses is mandated only after the jury is sworn.

Petitioner Lucas is presumed innocent. The Government should not say that the
defendant since he must be guilty must know what he is accused of doing. I have no idea what he
is accused of doing, and he doesn't know what kinds of proof the Government intends to offer.
Petitioner Lucas thinks under the circumstances the courts and his attorneys should be given

more. Sarokin & Zuckerman, supra note 1, at 1092-93, 1095 (citing district court proceedings).

Petitioner Troy Lucas was provided ineffective assistance of counsel under Constitutional
standards when Attorney Harry Trainer and Attorney Chris David did not call as a witness, Louis
Vanever, who could have testified that he worked for cooperating witness Jose Morales. Vanever would
have further testified that Morales’ provided Vanever with a cell phone, which Vanever used to stay in
contact with Morales to manage Morales’s business. At Petitioner’s trial, the Government introduced cell
records to prove that there was contact between both Morales’ phone and Vanever’s phone, especially
around the time of the murder of Robert Long. A defense counsel possesses “wide discretion in matters of

trial strategy.” People v Odom, 276 Mich App 407, 415; 740 NW2d 557 (2007).

Decisions regarding what witnesses to present are generally considered strategic, supporting
relief only when the defendant is denied a substantial defense based on a witness’s absence. People v
Payne, 285 Mich App 181, 190; 774 NW2d 714 (2009). The Court may not “substitute their judgment for
that of counsel on matters of trial strategy, nor will it use the benefit of hindsight when assessing counsel’s
competence.” Id. (quotation marks and citation omitted). However, “even deliberate trial tactics may

constitute ineffective assistance of counsel if they fall outside of the wide range of professionally

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competent assistance.” Martin v Rose, 744 F2d 1245, 1249 (CA 6, 1984) (quotation marks and citation

omitted).

The Government Attorney wrongly attributed the ownership of Vanever’s phone to Petitioner.
Had Attorneys Trainer and Davis called Vanever to testify at the trial, Vanever would have verified that
the cell phone used by him, which is the cell phone in question, was given to him by Morales for business
purposes. Vanever’s testimony also would have established the Government theory that the relevant

phone calls were placed by Vanever and not by the Petitioner, proving the Government’s theory to be

100% wrong. The district court refused to give instructions, concluding that the consistent

statements were admissible as substantive evidence under Rule 804(d)(1)(B) of the Federal Rules

of Evidence.

Rule 804(b)(1) provides a hearsay exception for former testimony. Specifically, it creates
an exception for “[t]estimony given as a witness at another hearing of the same or a different
proceeding, or in a deposition taken in compliance with law in the course of same or another
proceeding, if the party against whom the testimony is now offered . . . had an opportunity and
similar motive to develop the testimony by direct, cross, or redirect examination.” N.C. Evid. R.
804(b)(1). When the evidence is offered by the State, case law adds the additional requirement
that the defendant must have been present at the former proceeding and represented by counsel.
See, e.g., State v. Rollins, N.C. App. _, 738 S.E.2d 440, 445 (2013).In most cases, this
exception raises no complicated issues. By way of example, courts have held the following types

of prior testimony admissible under this rule:

e Awitness’s testimony during a prior trial on the charges at issue. See, e.g., State v.
Hunt, 339 N.C. 622, 646 (1994); State v. Swindler, 129 N.C. App. 1, 5 (1998).

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e A witness’s testimony at the defendant’s pretrial bond hearing in connection with the
charge at issue. State v. Ramirez, 156 N.C. App. 249, 258 (2003) (rejecting the
defendant’s argument that the bond hearing raised different issues than the trial, and
therefore defendant did not have “an opportunity and similar motive” to cross-examine
the witness).

e A victim’s testimony during voir dire conducted during the trial at issue. State v.
Finney, 358 N.C. 79, 89 (2004) (trial court erred by prohibiting the defendant from
admitting this testimony).

Petitioner Lucas has a right, under the Sixth Amendment, to the "effective assistance of
counsel." McMann v. Richardson, 397 U.S. 759, 771 n.14 (1970) (stating that "[i]t has long been

recognized that the right to counsel is the right to the effective assistance of counsel"); see also

U.S. CONST. amend. VI.

Investigation of the prosecution's case and possible defenses has long been recognized as
a core function of defense counsel in a criminal case, one that is necessary to the testing of the
facts in our adversarial system. This function has been constitutionalized as the Sixth
Amendment duty to "make reasonable investigations or to make a reasonable decision that
makes particular investigations unnecessary."'' Yet does the representation of Troy Allen Lucas
did not ensure adversarial testing of the facts to protect against the conviction of the innocent

even while convicting the guilty?

Petitioner moved to suppress the statements he made while in custody, arguing that he
was subjected to a custodial interview without having been read his Miranda rights and that his
confession was involuntary. See Miranda v. Arizona, 384 U.S. 436, 86 S. Ct. 1602 (1966).The
United States Supreme Court ruled in Smith v. Illinois, 469 U.S. 91 (1984), that when a
defendant makes an unequivocal (clear) request for counsel, questioning must stop, and a
defendant’s responses to additional interrogation conducted after the defendant made a clear
request may not be used to cast doubt on the initial request for counsel. The Court ruled in Smith
that when a defendant said, “Uh, yeah. I’d like to do that,” after being told of the right to counsel,
that statement was a clear request for counsel—particularly because the defendant had mentioned

earlier to the officers that a woman had told him to get a lawyer because they would railroad him.

Is the quantum of investigation the discovery rules allow defensible under the

constitutional principle that adversarial testing cannot take place without defense counsel’s

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independent investigation of the facts? Petitioner Lucas learned of the plea offer after the trial
has concluded. Had counsel informed Mr. Lucas of the plea offer in a timely fashion, Petitioner
may have accepted the offer, or at least would have engaged in further plea negotiations, instead
attorneys for Petitioner Lucas failed to communicate a plea offer. Furthermore, courts have been
unanimous in finding that defense counsel's failure to inform a client of a plea offer constitutes a

violation of the person's Sixth Amendment constitutional right to effective assistance of counsel.

Criminal defendants are expected to rely on their lawyer’s advice in deciding to plead
guilty. And the U.S. Supreme Court has recognized as much. In Padilla v. Kentucky, 559 U.S.
356 (2010), the Court reaffirmed its longstanding position on the issue and held that “the
negotiation of a plea bargain is a critical phase of litigation for purposes of the Sixth Amendment

right to effective assistance of counsel.”

For over 70 years, the Court has said lawyers are required to give clients their “informed opinion
as to what plea should be entered.” Von Moltke v. Gillies, 332 U.S. 708 (1948). The Court further
said that an “intelligent assessment” of the advantages to pleading guilty is “impossible” without

counsel’s advice. Brady v. United States, 397 U.S. 742 (1970).

Due process requires that a guilty plea must be intelligent and voluntary. By pleading
guilty, a defendant is waiving important constitutional rights. Such a waiver must be made freely
and with a full understanding of the significance and consequences of the action. The
requirement that a plea be a “voluntary expression of [the defendant’s] own choice” requires that
it not have resulted from, for example, actual or threatened physical harm or overbearing mental
coercion. 106. See id. at 243-44 (“What is at stake for an accused facing death or imprisonment
demands the utmost solicitude of which courts are capable in canvassing the matter with the
accused to make sure he has a full understanding of what the plea connotes and of its
consequence.”); Brady v. United States, 397 U.S. 742, 748 (1970) (“Waivers of constitutional
rights not only must be voluntary but must be knowing, intelligent acts done with sufficient

awareness of the relevant circumstances and likely consequences.”).

For a plea to be made intelligently, the defendant must understand the nature of the
charges, their “critical element[s]” and the consequences of the plea. See Henderson v. Morgan,

426 U.S. 637, 647 n.18 (1976) (assuming that every element of the charge need not be described

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but concluding that “intent is such a critical element of the offense of second-degree murder that
notice of that element is required” for a plea to be voluntary); see also State v. Barts, 321 N.C.
170, 174-76 (1987) (defendant knowingly and voluntarily entered plea of guilty as to both
felony-murder and premeditation and deliberation theories of first-degree murder; trial judge
adequately explained the two theories and defendant's responses indicated that he understood the

nature of the plea and its possible consequences).

The requirement that the defendant understand the consequences of the plea has been
interpreted to mean that a defendant must be informed of direct consequences of plea but not of
collateral consequences. See Brady, 397 U.S. at 755; Bozeman, 115 N.C. App. at 661 (quoting
Brady). Direct consequences have been broadly defined “as those which have a ‘definite,
immediate and largely automatic effect on the range of the defendant’s punishment. ’See
Bozeman, 115 N.C. App. at 661 (“Although a defendant need not be informed of all possible
indirect and collateral consequences, the plea nonetheless must be ‘entered by one fully aware of
the direct consequences, including the actual value of any commitments made to him by the

court. . .”” (quoting Brady, 397 U.S. at 755 (emphasis added)).

The Sixth Amendment guarantees a right to counsel for all defendants who face
incarceration. See lowa v. Tovar, 541 U.S. 77, 80 (2004). The right to counsel attaches at or after
the initiation of adversary proceedings, whether by formal charge, preliminary hearing,
indictment, information, or arraignment. See Kirby v. Illinois, 406 U.S. 682, 688 (1972). Once
the Sixth Amendment right to counsel attaches, it extends to “critical stages of the proceedings.”
See Tovar, 541 U.S. at 80-81. Because plea bargaining and plea proceedings are critical stages, a

defendant has a right to counsel at these stages.

The right to effective assistance of counsel rings hollow when restrictive discovery rules
render an attorney unable to investigate the facts of the case. There are clear connections among
the effective assistance of counsel, the duty to investigate, and discovery. Sarokin & Zuckerman,
supra note .1 Judge Sarokin and William Zuckerman recognize that "[t]he failure to provide full
disclosure of the government's case early in the proceedings limits a defendant's ability to
investigate the background and character of government witnesses and the veracity of their

testimony." Id. at 1090.

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Noting that discovery restrictions "impinge upon the right of defendants to a fair trial,”
id., the authors claim that liberalization of discovery is a "task for the legislature," and give only
brief attention to the potential constitutional bases for an expanded right to discovery. Id. at 1108.
They simply state that "[the call for a constitutional right of discovery is compatible with the
holding in Brady," and note that "the fact that many prosecutors choose to open their files to

opposing counsel raises the additional issue of equal protection.” Id. at 1107.

The discovery framework is timely for two reasons. First, the Supreme Court has given
much more vigor to defense counsel's Sixth Amendment-based duty to investigate in two recent
decisions which reversed death sentences: Coming three years after the decision in Williams v.
Taylor, the Wiggins Court also granted the defendant's claim of ineffective assistance based on
investigatory failures. Id. at 2536-37; see also Supreme Court 2002 Term, Leading Cases, 117
HARV. L. REV. 278, 278 (2003) [hereinafter Leading Cases] (noting that "[a]fter nearly twenty
years," the standard governing claims of ineffective assistance of counsel that was announced in
"Strickland v. Washington has finally been given teeth"). Williams v. Taylor, in which, for the
first time, the Supreme Court found ineffective assistance of counsel based on defense counsel's

inadequate investigation. Wiggins, 123 S. Ct. at 2535.

Both Williams and Wiggins address failures to investigate mitigation evidence at a
capital sentence hearing. The constitutional principles articulated in the cases, however, apply
equally to investigation at the guilt/ innocence phase in non-capital cases. The trial attorneys in
Wiggins had the tools at their disposal to do the necessary investigation; records in their

possession suggested a very troubled childhood. They simply failed to investigate this avenue.

The assumption is that the defendant has enough information about the case to allow for
an investigation to fly in the face of the constitutional right to a presumption of innocence. See
Apprendi v. New Jersey, 530 U.S. 466, 477-78 (2000) (explaining that "[t]aken together...
[Fourteenth and Fifth Amendment] rights indisputably entitle a criminal defendant to a jury
determination that [he] is guilty of every element of the crime with which he is charged, beyond
a reasonable doubt" (internal quotation omit[1]ted)); see also 1963 Brennan, supra note 5 at 287
(questioning "does not the denial of all discovery set aside the presumption of innocence-is not

such denial blind to the superlatively important public interest in the acquittal of the innocent?").

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The Supreme Court’s doctrine prohibiting the enforcement of vague laws rests on the
twin constitutional pillars of due process and separation of powers. See Dimaya, 584 U. S., at
___—___(plurality opinion) (slip op., at 4-5); id., at___ — | (GORSUCH, J., concurring in part
and concurring in judgment) (slip op., at 2-9). Vague laws contravene the “first essential of due
process of law” that statutes must give people “of common intelligence” fair notice of what the
law demands of them. Connally v. General Constr. Co., 269 U. S. 385, 391 (1926); see Collins v.
Kentucky, 234 U. S. 634, 638 (1914). Vague laws also undermine the Constitution’s separation
of powers and the democratic self-governance it aims to protect. Only the people’s elected

representatives in the legislature are authorized to “make an act a crime.” United States v.

Hudson, 7 Cranch 32, 34 (1812).

Vague statutes threaten to hand responsibility for defining crimes to relatively
unaccountable police, prosecutors, and judges, eroding the people’s ability to oversee the
creation of the laws they are expected to abide by. See Kolender v. Lawson, 461 U.S. 352, 357-
358, and n. 7 (1983); United States v. L. Cohen Grocery Co., 255 U.S. 81, 89-91 (1921);
United States v. Reese, 92 U.S. 214, 221 (1876). While the problem of acquiring adequate
information for investigation in the case of an innocent defendant presents a compelling example
that resonates with our notions of fundamental fairness in the adversary system, the problem
exists well outside of the innocence context. On June 24, 2019, the Supreme Court held in Davis
that the residual clause of 18 U.S.C. § 924(c) -- under which Pefia has three convictions -- was
unconstitutionally vague. See 139 S. Ct. at 2336.” United States v. Pea, 09 CR 341(VM), at
*4-5 (S.D.N.Y. Dec. 17, 2020).

Pefia was convicted for violations of Section 924(j), not Section 924(c). However, a person is
guilty under Section 924(j) if he causes the death of a person through the use of a firearm while

"in the course of a violation of subsection (c)." 18 U.S.C. § 924).

In turn, 924(c) criminalizes the use of a firearm in furtherance of "a crime of violence or
drug trafficking crime." Id. § 924(c)(1)(A). And a "crime of violence" is defined as a felony that
"has as an element the use, attempted use, or threatened use of physical force" (the force clause),
or which, "by its nature, involves a substantial risk that physical force against the person or

property of another may be used" (the residual clause). See id. § 924(c)(3)(A)-(B). Here, because

 

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Pefia's convictions for violations of Section 924(j) were predicated on the conspiracy to commit

murder-for-hire, they were predicated on the residual clause in Section 924(c)(3)(B).
United States v. Pera, 09 CR 341(VM), at *5 n.1 (S.D.N.Y. Dec. 17, 2020)

The Government conceded that Pefia's convictions on Counts Seven and Eight cannot stand.
Both counts were predicated on the conspiracy charged in Count Four, which qualifies as a
predicate "crime of violence" under the residual clause of 18 U.S.C. § 924 that was held

unconstitutionally vague in Davis. (See Dkt. No. 437 at 1-2.)

 

On appeal, both defendants argued that §924(c)’s residual clause is unconstitutionally
vague. At first, the Fifth Circuit rejected the argument. United States v. Davis, 677 Fed. Appx.
933, 936 (2017) (per curiam). But after the Supreme Court vacated its judgment and remanded
for further consideration in light of their decision in Sessions v. Dimaya, 584 U.S. ___(2018),
striking down a different, almost identically worded statute, the court reversed course and held

§924(c)(3)(B) unconstitutional. 903 F. 3d 483, 486 (2018) (per curiam).

It then held that Mr. Davis’s and Mr. Glover’s convictions on one of the two §924(c)
counts, the one that charged robbery as a predicate crime of violence, could be sustained under
the element’s clause. But it held that the other count, which charged conspiracy as a predicate
crime of violence, depended on the residual clause; and so, it vacated the men’s convictions and

sentences on that count.

Assuming that defense counsel can garner all necessary information from their client
ignores the fact that many defendants suffer from mental illness or retardation, drug or alcohol
abuse, impaired memory, and other impediments which might prevent them from being
adequate, the sole source for investigative leads. See, e.g., Atkins v. Virginia, 536 U.S. 304, 320
(2002) (acknowledging that "[m]entally retarded defendants may be less able to give meaningful
assistance to their counsel"); United States v. Renfroe, 825 F.2d 763, 767 (3d Cir. 1987)
(describing doctor's testimony, concerning a defendant who abused cocaine for sixteen years

before as well as during his trial, "that cocaine addiction would affect a defendant's capacity to

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confer effectively with counsel"); Melinda G. Schmidt et al., Effectiveness of Participation as a

Defendant: The Attorney-Juvenile Client Relationship, 21 BEHAV. Sci. & L. 175 (2003).

See, e.g., Rompilla v. Beard, 545 U.S. 374, 377 (2005) (holding that under
reasonableness prong of Strickland test, defense counsel must not rely on defendant and
defendant’s family’s claims that no mitigating evidence exists, and must conduct review of
evidence that prosecutor is likely to use “as evidence of aggravation at the trial’s sentencing
phase”); Wiggins v. Smith, 539 U.S. 510, 522—27 (2003) (finding ineffective assistance of
counsel when counsel chose not to present mitigating evidence because that decision was
unreasonable and could not have been strategic in light of counsel’s deficient investigation into
available mitigating evidence); Williams v. Taylor, 529 U.S. 362, 395-96 (2000) (concluding that
defense counsel’s failure to present evidence that defendant was “‘borderline mentally
retarded,”” and that defendant assisted law enforcement while in prison, and failure to use
witnesses which would cast defendant in favorable terms, amounted to unreasonable conduct and

ultimately did not meet Strickland standard of effective representation) (citation omitted).

Petitioner Lucas’s trial attorney’s failure to investigate Petitioner’s mental state and to
present evidence, at trial required an evidentiary hearing to resolve the petitioner’s ineffective
assistance claim. United States v, Burrows, 872 F. 2d 915 (9" Cir.1989) Hepatic
encephalopathy,” is the medical term for the disruption in the brain function, caused by liver
disease. It can manifest as a sleep disorder, trouble concentrating, thinking, shaking, or slurred

speech. Petitioner Lucas was diagnosed with the said disorder.

The role that discovery can play in advancing the goals of thorough investigation has not
received the attention it deserves: as a mechanism to advance full airing of well-developed facts
in an adversarial proceeding or within a plea bargain process where each side investigates
enough so that there is some adversarial testing. Petitioner Lucas’s attorneys failed to show any
of the evidence in the Government’s evidence file before the trial even after Petitioner Lucas
requested to see all of the evidence. Attorney Trainer and Davis admitted that they had not had
the time to read all of it themselves and that they would just try to try the Demetrius Smith case.
Given Williams and Wiggins, and lessons about the need for adequate investigation to protect

against a wrongful conviction, it is important to consider how restrictive discovery can violate

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the right to the effective assistance of counsel. Courts and legislatures-should build on the
momentum of Wiggins to recognize that investigation is one of the core functions of defense

counsel.

It is a defining feature that gives meaning to the effective assistance of counsel. It is time
to take the next logical step toward understanding how defense counsel's investigative ability is
inextricably intertwined with the constraints that the discovery process places on defense
counsel's access to information. It also assumes that the defendant (even one who is guilty)
possesses specific information, such as names and addresses of potential witnesses, which is
necessary for defense counsel to adequately investigate the case. It ignores the fact that

incarcerated defendants cannot bring their attorneys to relevant people or places when they lack

this information, and instead, perhaps only know someone by a nickname or by sight.

Certainly, Petitioner Lucas’s attorneys faced with these obstacles must also investigate
the case to fulfill the promise of effective assistance under the Sixth Amendment, be that in a
trial or inappropriately counseling a client in the context of a plea bargain. The right to effective
assistance is not contingent upon innocence. See Kimmelman v. Morrison, 477 U.S. 365, 380
(1986) (noting that "[t]he constitutional rights of criminal defendants are granted to the innocent

and the guilty alike").

The Supreme Court has emphasized the importance of fact development in criminal
cases, noting that: The need to develop all relevant facts in the adversary system is both
fundamental and comprehensive. The ends of criminal justice would be defeated if judgments
were to be founded on a partial or speculative presentation of the facts. The very integrity of the
judicial system and public confidence in the system depend on full disclosure of all the facts,
within the framework of the rules of evidence. Such fact development cannot take place without
investigation. In turn, adversarial balance cannot take place without investigation by both the
prosecution and the defense. Thus, the defense counsel's duty to investigate rests on the

recognition of pretrial investigation as "perhaps, the most critical stage of a lawyer's preparation.

United States v. Cronic, 466 U.S. 648, 656 (1984); see also Strickland v. Washington, 466
U.S. 668, 685 (1984) ("The right to counsel plays a crucial role in the adversarial system

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embodied in the Sixth Amendment, since access to counsel's skill and knowledge is necessary to
accord defendants the 'ample opportunity to meet the case of the prosecution’ to which they are
entitled" (quoting Adams v. United States ex rel. McCann, 317 U.S. 269, 275-76 (1942))). See
Cronic, 466 U.S. at 655-56; see also Strickland, 466 U.S. at 686 ("The benchmark for judging
any claim of ineffectiveness must be whether counsel's conduct so undermined the proper
functioning of the adversarial process that the trial cannot be relied on as having produced a just
result"); Herring v. New York, 422 U.S. 853, 862 (1975) (remarking that "[t]he very premise of
our adversary system of criminal justice is that partisan advocacy on both sides of a case will
best promote the ultimate objective that the guilty be convicted and the innocent go free").
United States v. Nixon, 418 U.S. 683, 709 (1974); see also Taylor v. Illinois, 484 U.S. 400,
408-09 (1988). 33. House v. Balkcom, 725 F.2d 608, 618 (11th Cir. 1984) (internal quotations
omitted); see also Moore v. United States, 432 F.2d 730, 735 (3rd Cir. 1970) which noted that:
Adequate trial preparation often may be a more an important element in the effective assistance

of counsel to which a defendant is entitled than the forensic skill exhibited in the courtroom.

The careful investigation of a case and the thoughtful analysis of the information it yields
may disclose evidence of which even the defendant is unaware and may suggest issues and
tactics at trial which would otherwise not emerge. Attorney Trainer and attorney Davis did not
call crucial law enforcement officers to testify at trial. The Baltimore Police officers were the
first responders, to the radio run, of the shooting of Robert Long. These officers spoke to
witnesses, collected evidence at the crime scene, and arrested Demetrius Smith, a dark-skinned

black male, for the murder of Robert Long.

In a State Trial, Smith was convicted for the murder of Long, served approximately four
years of a life sentence, before his conviction was overturned, based on new evidence that
suggested his innocence. The impetus for Smith’s release was the statement of Jose Morales,
who told federal authorities that he hired Petitioner and Brother Lucas to murder Robert Long.
When attorneys Trainer and Davis failed to call these crucial witnesses to testify at the Petitioner
Lucas’s trial their representation fell below the acceptable standards of competent counsel.
Several courts have undertaken a more forceful analysis of failure-to-investigate claims. For
example, the Eight Circuit found ineffective assistance when counsel investigated and presented

an alibi defense (albeit a weak one) at trial but failed to investigate the possibility that someone

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else committed the crime. Henderson v. Sargent, 926 F.2d 706, 711-12 (8th Cir. 1991) (reversing
conviction where counsel failed to investigate evidence that victim's husband, or possibly
another man with ties to the victim, had killed her because "[t]he decision to interview a potential

wanes is not a decision related to trial strategy.

Rather, it is a decision related to adequate preparation for trial" (internal quotations
omitted)). The court gave the duty to investigate real meaning: "Reasonable performance of
counsel includes an adequate investigation of the facts of the case, consideration of viable
theories, and development of evidence to support those theories. Counsel has a duty ... to
investigate all witnesses who allegedly possessed knowledge concerning [the defendant's] guilt

or innocence."
. CONCLUSION
For the forgoing reasons, petitioner Lucas submits that his conviction must be VACATED.

Raspectfully Submitted,
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Troy Allen Lucas

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